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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 20-81436-CIV-DIMITROULEAS
 HOWARD COHAN,

        Plaintiff,

 vs.

 EM SQUARED RESTAURANTS, LLC,
 A Foreign Limited Liability Company,
 doing business as KFC,

       Defendant.
 ____________________________________/

                     ORDER APPROVING VOLUNTARY DISMISSAL


        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal With

 Prejudice (the “Notice”) [DE 8], filed herein on September 23, 2020. The Court has carefully

 reviewed the Notice and is otherwise fully advised in the premises.


        Accordingly, it is ORDERED AND ADJUDGED as follows:


        1. The Notice [DE 8] is hereby APPROVED.

        2. This case is DISMISSED WITH PREJUDICE.

        3. The Clerk is directed to CLOSE this case and DENY any pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

 this 24th day of September, 2020.




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 Copies to:
 Counsel of Record




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